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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term
Grand Jury Sworn in on April 11, 2024

UNITED STATES OF AMERICA
v.

CHRISTINA CHAPMAN,

JOHN DOE 1, alias JIHO HAN,

JOHN DOE 2, alias HAORAN XU,

JOHN DOE3, alias CHUNJI JIN,

Defendants.

CRIMINAL NO.
VIOLATIONS:

18 U.S.C. § 371 (Conspiracy to Defraud
the United States)

18 U.S.C. §§ 1343, 1349 (Conspiracy to
Commit Wire Fraud)

18 U.S.C. §§ 1344, 1349 (Conspiracy to
Commit Bank Fraud)

18 U.S.C. § 1028A(a)(1) (Aggravated Identity
Theft)

18 U.S.C. §§ 1028(a)(7), (b)(1)(D), (c)(3)(A) &
(f) (Conspiracy to Commit Fraud and Related
Activity in Connection with Identification
Documents)

18 U.S.C. §§ 1956(a)(1)(B)(@) & (h) (Conspiracy
to Launder Monetary Instruments)

18 U.S.C. § 1960 (Prohibition of Unlicensed
Money Transmitting Business)

8 U.S.C. § 1324a (Unlawful
Employment of Aliens)

18 U.S.C. § 2 (Aiding and Abetting)

INDICTMENT

The Grand Jury charges that, at times material to this Indictment:
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COUNT ONE
(Conspiracy to Defraud the United States)

INTRODUCTION

1. Since 2003, the Democratic People’s Republic of Korea (“DPRK” or “North
Korea’) has been under sanction by the United Nations (“UN”) due to its testing and expansion of
its nuclear weapons program. Since 2016, the United States has had comprehensive sanctions
against North Korea, cutting it off from the U.S. financial system and limiting the ability of U.S.
persons and companies to do business with North Koreans. As a result, North Korea has sponsored
various subterfuge schemes to earn money for the regime.

2. According to a May 2022 advisory by the Department of State, the Department of
the Treasury, and the Federal Bureau of Investigation, North Korea has dispatched thousands of
highly-skilled information technology (“IT”) workers around the world, earning revenue that
contributes to the North Korean weapons programs, in violation of U.S. and UN sanctions: These
workers (i) misrepresent themselves as foreign (non-North Korean) or U.S.-based teleworkers,
including by using virtual private networks (“VPNs”), virtual private servers (“VPSs”), third-
country internet protocol (“IP”) addresses, proxy accounts, and falsified or stolen identification
documents; (ii) surreptitiously obtain IT development employment from companies spanning a °
range of sectors and industries around the world; (iii) develop applications and software for their
employers; and (iv) in — instances, use privileged access gained through such employment for
illicit purposes, including enabling malicious cyber intrusions by other DPRK actors into an
employer’s network. These IT workers are often subordinate to North Korea’s Munitions Industry
Department (“MID”). MID is involved in key aspects of North Korea’s weapons program,
including overseeing the development of North Korea’s ballistic missiles, weapons production,

and research and development programs.
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3. From in or around early 2020 until the present, one group of overseas IT workers
has been perpetrating such a coordinated scheme to conduct remote work for U.S. companies,
resulting in the transmission of false information to the United States and its agencies. Specifically,
this’ group of overseas IT workers has stolen the identities of U.S. nationals; applied for remote
jobs in the United States through the transmission of false documentation to the Department of
Homeland Security (“DHS”); obtained jobs at hundreds of U.S. companies, to include Fortune 500
companies, often indirectly through staffing companies or other contracting organizations
(“staffing companies”); received laptop computers and other hardware from U.S. companies
through which they have access to the internal systems of the U.S. companies (generally,
“laptops”’); and been paid millions of dollars for their work, much of which has been falsely
reported to the Internal Revenue Service (“IRS”) and the Social Security Administration (“SSA”)
in the name of the actual U.S. persons whose identities have been false, stolen, or borrowed. The
overseas IT workers have been assisted in this scheme by various U.S. nationals, who have acted
knowing that the overseas IT workers were, in fact, not located in the United States, that they used
false, stolen, or borrowed identities belonging to real U.S. persons, and that they were defrauding
the U.S. companies.

4, From in or around October 2020, until on or about October 26, 2023, Christina
Marie CHAPMAN, a U.S. national, conspired with certain overseas IT workers to affect a scheme
to defraud the United States and its agencies. Specifically, CHAPMAN: (i) assisted the overseas
IT workers in validating stolen identity information of U.S. citizens so the overseas IT workers
could pose as U.S. citizens; (ii) received and hosted laptops issued by U.S. companies to the
overseas IT workers in her U.S. residences (a “laptop farm”), so that the mens believed the

workers to be located in the United States, and sent other laptops from her residences to overseas
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IT workers abroad; (iii) at her laptop farms, logged into the U.S. companies’ laptops and assisted
the overseas IT workers with connecting remotely, so it appeared that the logins were coming from
the United States; and (iv) received paychecks for the overseas IT workers at her home, forged the
signatures of the beneficiary on the checks, and deposited them to her U.S. financial institution,
thereafter further transferring the proceeds of the scheme to the overseas IT workers. In exchange,
CHAPMAN charged monthly fees to the overseas IT workers for her services, enriching herself
off the scheme.

5. The conspiracy perpetrated a staggering fraud on a multitude of industries, at the
expense of generally unknowing U.S. companies and persons. It impacted more than 300 U.S.
companies, compromised more than 60 identities of U.S. persons, caused false information to be
conveyed to DHS on more than 100 occasions, created false tax liabilities for more than 35 U.S.
persons, and resulted in at least $6.8 million of revenue to be generated for the overseas IT workers.
The overseas IT workers worked at blue-chip U.S. companies, including a top-5 national television
network and media company, a premier Silicon Valley technology company, an aerospace and
defense manufacturer, an iconic American car manufacturer, a high-end retail chain, and one of
the most recognizable media and entertainment companies in the world, all of which were Fortune
500 companies. The overseas IT workers also exfiltrated data from at least two U.S. companies—
a multinational restaurant chain and a classic American clothing brand. The overseas IT workers
also attempted to gain employment arid access to information at two different U.S. government
agencies on three different occasions, although these attempts were discovered and thwarted, due

to the agencies’ enhanced due diligence.
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BACKGROUND

A. Sanctions Against North Korea

6. In December 1985, North Korea ratified the Nuclear Non-Proliferation Treaty
(“NPT”). On January 10, 2003, North Korea withdrew from the NPT. On October 14, 2006, the
UN Security Council passed Resolution 1718 condemning North Korea’s first nuclear test and
imposed sanctions on North Korea, including the supply of heavy weapons and select luxury
goods. After successive nuclear tests by North Korea, the UN Security Council strengthened or
imposed additional sanctions in 2009, 2013, 2016, and 2017.

7. The International Emergency Economic Powers Act (“IEEPA”), codified at Title
50 U.S.C. § 1701 et seg., enacted in 1977, authorizes the President to poe economic sanctions
in response to an unusual or extraordinary threat, which has its source in whole or substantial part
outside the United States, to the national security, foreign policy, or economy of the United States
when the President declares a national emergency with respect to that threat. Pursuant to that
authority, on March 15, 2016, the President issued EO 13722 addressing the Government of North
Korea’s continuing pursuit of its nuclear and missile programs. EO 13722 imposed a
comprehensive blocking of the Government of North Korea and the Workers’ Party of Korea.
Pursuant to that authority, on March 16, 2016, the Secretary of the Treasury promulgated the
“North Korea Sanctions Regulations.” See 31 C.F.R. § 510.101 et seg. (amended 83 Fed. Reg.
9182 (Mar. 5, 2018)). These authorities generally prohibited the exportation and re-exportation of
goods, services (including financial services), and technology to North Korea, unless exempt or
authorized by the Department of the Treasury. Under these orders, U.S. financial institutions were

barred from providing banking services to North Korea entities. These authorities barred any
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transaction by any U.S. person or within the United States that evaded or avoided, or had the
purpose of evading or avoiding, any prohibition set forth in these Executive Orders or regulations.

8. The Bank Secrecy Act requires U.S. financial institutions to take deumeney
laundering measures to ensure that U.S. bank accounts are not used to finance terrorism or to avoid
sanctions programs administered by the Department of the Treasury. The Treasury Department’s
Financial Crimes Enforcement Network (“FinCEN”) is responsible for shia tering the Bank
Secrecy Act in furtherance of its mission to safeguard the US. financial system. FinCEN is located
in Washington, D.C. The Bank Secrecy Act gives FinCEN a range of options, called special
measures, which can be adapted to target specific money laundering and terrorist financing
concerns. See USA PATRIOT Act § 311, codified at 31 U.S.C. § 5318A. Under this authority, in
June 2016, FinCEN determined that the entire North Korean financial sector was a “primary
money laundering concern.” Federal Register, Vol. 81, No. 107 (June 3, 2016). On November 9,
2016, FinCEN implemented a special measure, effectively barring all North Korean financial
institutions and entities acting on their behalf from engaging in U.S. dollar transactions in the
United States. Failure to comply with the special measure resulted in civil and criminal penalties
for U.S. financial institutions. As a result of the North Korea sanctions, the FinCEN 311 action,
and overall risk management, beginning in at eset, March 2016, U.S. banks refused to knowingly
process any U.S. dollar wire transactions involving entities in North Korea.

B. U.S. Work Authorization and the Relevant Federal Agencies

9, DHS U.S. Citizenship and Immigration Services (“USCIS”) is the federal agency
responsible for ensuring employment eligibility for workers in the United States. DHS and USCIS

are located in the District of Columbia.
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a. Federal law requires that every U.S. employer who recruits, refers for a fee, or hires
an individual for employment in the United States must complete Form I-9,
Employment Eligibility Verification (“Form I-9”). A Form I-9 must be completed
for every individual hired for employment in the United States, including citizens
and noncitizens. On the form, an employee must attest to their employment
authorization. The employee must also present their employer with acceptable
documents as evidence of identity and employment authorization. The employer -
must examine these documents to determine’ whether they reasonably appear to be
genuine and relate to the employee, then record the document information on the
employee’s Form I-9. Employers must have a completed Form I-9, on file for each
person on their payroll (or otherwise receiving remuneration) who is required to
complete the form.

b. As a voluntary alternative to the Form I-9 process, employers may use E-Verify, a
web-based system run by USCIS. In the E-Verify process, employers create cases
based on information taken from an employee’s Form 1-9. E-Verify then
electronically compares that information to records available to DHS and SSA. E-

. Verify generates a response to the employer confirming the employee’s
employment eligibility or indicating that the employee needs to take further action
to complete the-case. Although E- Verify requires the use of a photographic identity
document, it does not have the ability to query submitted state drivers’ license
photographs against the state drivers’ feense databases.

c. Prior to August 2023, U.S. employers were generally required to review

employment eligibility documents in person. After August 2023, employers could
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-remotely examine and submit employment eligibility documentation through E-
Verify.

10. IRS is the federal agency responsible for collection of taxes from U.S. employers
and employees. IRS is located in the District of Columbia. Generally, U.S. employers withhold
federal laxes from the pay checks of their employees and transmit those funds to the United States
government. Generally, U.S. employers transmit to IRS reports of the total wages earned and the
total taxes withheld for each calendar year. Generally, U.S. employees are responsible for
determining their tax liability based on the amount of wages earned in the tax year and the amount
of taxes withheld.

11. SSA is the federal agency responsible for administering retirement, disability,
survivor, and family benefits, and enrolling eligible individuals in Medicare. SSA also provides
Social Security Numbers, which are unique identifiers needed to work, and a database of which is
used to verify employment eligibility by the E-Verify system. Generally, U.S. employers withhold
federal social security taxes from the pay checks of their employees and transmit those funds to
the United States government. Generally, U.S. employers transmit reports to the SSA of the total
wages earned and the total social security taxes withheld for each calendar year. Generally, U.S.
employees are eligible for benefits from SSA on the basis of this reported information.

THE CONSPIRATORS
12. Defendant Christina CHAPMAN is a U.S. national, who resided in Minnesota and

Arizona.

13. JOHNDOE 1, alias StA|S Jiho HAN (HAN), was an individual residing overseas

who opened accounts with a foreign money service transmitter (“MST”) that conducts U.S. dollar

transactions through a branch in New York (hereinafter “MST-1”). These accounts were used to
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receive payroll funds from U.S. companies associated with laptops that were being hosted at
CHAPMAN’s residences. HAN would then forward the funds to an individual in the People’s
Republic of China (“China”). HAN also received funds from CHAPMAN for an overseas IT
worker that CHAPMAN first deposited into one of her U.S. financial accounts.

14. JOHN DOE2, alias 3574 #8 Haoran XU (XU), was an individual residing overseas

who registered for financial accounts with U.S. MSTs. XU provided his name, date of birth, and a
Chinese National ID to U.S. MSTs to register for these accounts. XU received money generated
through the conspiracy into these accounts, including from CHAPMAN. XU’s name and address
were also used by CHAPMAN and other coconspirators to receive packages in China, including
packages containing laptops for remote work at U.S. companies. XU used two U.S.-based MST
accounts, both of which listed his address as Dandong, China, a city on the border with North

Korea.

15. JOHN DOE3, alias 441i 4 Chunji JIN (JIN), was an individual residing overseas

who registered for financial accounts with U.S. MSTs. JIN provided her name, date of birth, and a
Chinese National ID to U.S. MSTs to register for these accounts. JIN received money generated
through the conspiracy into these accounts, including from CHAPMAN. JIN’s name and address
were also used by CHAPMAN and other coconspirators to receive packages in China, including
packages containing laptops for remote work at U.S. companies. JIN used two U.S.-based MSTs,
one of which listed her address as Dandong, China, a city on the border with North Korea.

16. JOHN DOE 4, alias or moniker “Zhonghua,” and “Venechor S.” (hereinafter
“Zhonghua”) was a foreign national not authorized to work in the United States. Zhonghua was a
manager of other overseas IT workers and had direct communication with CHAPMAN regarding

the scheme.
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17.  Atall times relevant to this Indictment, CHAPMAN, HAN, XU, JIN, and Zhonghua
knew that the individuals with whom they conspired to obtain remote IT work were foreign
nationals not located in the United States, and not authorized to work in the United States.

JURISDICTION AND VENUE

18. Acts and omissions in furtherance of the offenses alleged herein occurred within
the District of Columbia. Pursuant to Title 18, United States Code, Section 3237, venue is proper
in the District of Columbia.

19. Additionally, certain of the offenses alleged herein were begun and committed
outside of the jurisdiction of any particular state or district of the United States, For those offenses,
pursuant to Title 18, United States Code, Section 3238, venue is proper in the District of Columbia.

THE CONSPIRACY

20. Beginning at least in or around October 2020, the exact date being unknown to the
Grand Jury, through on or about October 26, 2023, CHAPMAN and others known and unknown
to the Grand Jury, in the District of Columbia and elsewhere, knowingly combined, conspired, and
agreed together and with each other to defraud by means of deceit, craft, trickery, and dishonesty .
the United States and its agencies, to include:

a. DHS, by submitting false identification information stolen or borrowed from
U.S. persons to DHS for employment eligibility verification through the use of
the E-Verify system;

b. IRS, by causing U.S. employers to submit false information regarding wages
earned by U.S. persons, when in fact those persons did not work for said
employers and had their identities stolen or borrowed, and thereafter creating

false tax liabilities in the name of the U.S. persons; and

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21.

SSA, by causing U.S. employers to submit false information regarding benefits
earned by U.S. persons, when in fact those persons did not work for said
employers and had their identities stolen or borrowed, and thereafter creating

false henefit coverage in the name of the U.S. persons.

The goals and purposes of the Conspiracy were, among others, to obtain U.S.

employment for the overseas IT workers through the use of false, borrowed, or stolen identities in

violation of U.S. laws, to generate revenue for the overseas IT workers and their associates, and to

generate revenue for CHAPMAN.

22.

Manner and Means

It was further a part of the Conspiracy that the coconspirators used the following

manner and means, among others, to achieve the goals of the Conspiracy:

a.

The overseas IT workers stole the identities of U.S. persons, and otherwise
convinced U.S. persons to loan the overseas IT workers their identities for
money;

The overseas IT workers validated the stolen U.S. person identities by using
online background check service providers, under accounts opened, authorized,
and paid for by CHAPMAN;

The overseas IT workers identified jobs of interest in U.S. companies, including
Fortune 500 companies, in fields such as technology, car manufacturing,
aerospace, media, retail, and food delivery;

The overseas IT workers developed fictitious personas and online profiles to
match the job requirements for remote IT worker positions at the US.

companies and government agencies;

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€. The overseas IT workers applied for jobs at the U.S. companies and government
agencies, and transmitted false information to DHS as part of an employment
eligibility check, to include stolen or borrowed identity information, false
drivers’ licenses, false Social Security cards, and passports and permanent
resident identification cards for individuals other than themselves;

f. CHAPMAN assisted overseas IT workers with transmitting false information
and false documents to their employers for the purposes of employment
eligibility verification;

g. The overseas IT workers directed the U.S. companies to send their company-
issued laptops to CHAPMAN’s U.S.-based addresses;

h. CHAPMAN hosted these laptops at her residences, logging into the U.S.
companies’ networks, sometimes daily, and then permitting the coconspirator
overseas IT workers to connect remotely to the laptops;

i. CHAPMAN sent certain of these laptops to the overseas IT workers at locations
in China and elsewhere;

ji The overseas IT workers caused the U.S. companies to issue paychecks in the
names of stolen, false, and borrowed U.S. person identities, and on numerous
occasions, directed those payments to be sent to CHAPMAN’s residences;

k. CHAPMAN forged the signature of the false, stolen, or borrowed U.S. person
identities on checks sent to her residence and deposited those checks at her
bank, U.S. Financial Institution 1 (““USFI-1”); and

1. CHAPMAN, HAN, XU, JIN, and Zhonghua transferred money between and

among accounts at U.S. financial institutions and MSTs, which were further

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transferred to other conspirators.
Overt Acts
23. In furtherance of this Conspiracy and to accomplish its goals, the following overt
acts, among others, were committed in the District of Columbia and elsewhere:
° Initiation of the Conspiracy
a. In or around March 2020, an unknown coconspirator approached CHAPMAN,
through her LinkedIn page, and asked her to “be the U.S. face” of their company
and assist them in helping the overseas IT workers gain remote employment in
the United States.
e Targeting of U.S. Companies
b. Between in or around August 2022, through in or around November 2023, a
group of North Korean IT workers stored a set of files related to the scheme in
an online repository. These files included documents about attempting to obtain
employment in the United States as remote workers, including guides and tips
related to topics about writing a cover letter, building a resume, sample resumes,
scripts for interviews, and a scanned copy of a stolen U.S. Permanent Resident
Card. Included in the documents were 59 job postings, including:
i. A job post for a “Video Streaming Engineer” Company 1, a top-5
national television network and media company, headquartered in New
York. As discussed further herein, infra § 23(w), on or about November
21, 2022, a remote IT worker associated with CHAPMAN obtained
employment as a video engineer for Company 1’s streaming service;

ii. A job post for a “Python Developer” at Staffing Company 1, a

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professional staffing company, which staffs contractors at thousands of
U.S. companies, headquartered in Florida. As discussed further herein,
infra § 23(aa), on or about June 16, 2023, a remote IT worker associated
with CHAPMAN, claiming experience in using “Python” software,
obtained employment at Staffing Company 1; and

iii. A job post for a “Video Streaming Engineer” at Staffing Company 2, a
professional staffing company. As discussed further herein, infra
{ 23(dd) below, on or about May 17, 2022, a remote IT worker
associated with CHAPMAN, obtained employment at Staffing
Company 2 for this contract, and was contracted to the Company 3,a
Fortune 500 company and one of the most recognizable media and
entertainment companies in the world, headquartered in California.

Cs Between on or about September 21, 2022, and on or about March 3, 2023, a
contractor using the name “Asolelei T.” obtained employment at Cyber Security
Firm-1 (“CSF-1”), a cyber-security contractor located in California, through a
staffing company. “Asolelei T.” was a U.S. person identity that was used for
remote IT positions that were associated with Chapman’s laptop farm. During
the time period of his employment, “Asolelei T.” used a number of tactics,
techniques, and procedures associated with the group of North Korean IT
workers identified above, to include remote control web browser extensions to
provide remote access to CSF-1’s system via proxy services and VPNs to mask
his IP address. In addition to “Asolelei T.,” eight other contractors associated

with this group of North Korean IT workers obtained jobs at CSF-1, all hired

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through third-party staffing companies. In total, three of these individuals used .
U.S. person identities that were also used at CHAPMAN’s laptop farm. As
described further herein, CHAPMAN invoiced the coconspirator overseas IT

workers for services related to two CSF-1 laptops hosted at her laptop farm.

e Targeting of U.S. Person Identities

d.

On or about February 25, 2022, a coconspirator registered an account associated
with CHAPMAN’s name and address with a Maryland-based online
background check service provider, Online Background Check Service-1
(OBCS-1").

On or about February 25, 2022, CHAPMAN messaged a coconspirator overseas
IT worker identified as “Joren Jo” (“JJ”). CHAPMAN provided JJ with her
debit card information, which was used to make payments on an account in
CHAPMAN’s name with OBCS-1. CHAPMAN told JJ that she would “add the
total charge to the invoice.”

On or about February 25, 2022, a coconspirator created an account at MST-2
(hereinafter “MST-2 Account A”), headquartered in California, using
CHAPMAN ’s identifying information, CHAPMAN’s debit card, and an email
address for a coconspirator overseas IT worker. Thereafter, MST-2 Account A
was used for payments to the OBCS-1 account associated with CHAPMAN.
On or about January 20, 2023, CHAPMAN provided information for another
of her debit cards to an overseas IT worker, via a messaging application.

On or about February 15, 2023, a coconspirator created another MST-2 account

(hereinafter “MST-2 Account B”) with CHAPMAN’s identifying information,

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the new debit card, and the email address of a coconspirator overseas IT worker.

i. Between on or about February 25, 2022, and on or about August 2, 2023,

coconspirator overseas IT workers used the OBCS-1 account associated with

CHAPMAN to conduct more than 80 queries, to include criminal history

reports and Social Security Number traces, of the following 57 U.S. persons’

identities, verifying their information and Social Security Numbers, in order to

further their impersonation of these U.S. persons with U.S. employers:

Sub-¢ U.S. Identity
il “Aaron L.”
2 “Aaron M.”
3 “Adrian S.”
4 “Andrew C.”
5 “Andrew S.”
6 “Arion 8.”
7 “Arkim P.”
8 “Arnaldo M.”
9 “Breeyan C.”
10 “Brett S.”
11 “Brian S.”
12 “Byron P.”
13 “Carol W.”
14 “Carol W.”
15 “Christopher A.”
16 “Christopher H.”
17 “Chuck C.”
18 “Cole D.”
19 “Daniel M.”
20 “Darnell M.”
21 “Daron T.”
22 “Dong C.”
23 “Dustin S.”
24 “Dustin S.”
25 “Gregory J.”

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26 “Guillermo C.”

27 “Jacob L.”

28 “Jamal M.”

29 “James V.”

30 “Jamie M.”

31 “Jared G.”
B25 | “Joe?

33 “Jung Woo L.”

34 “Justin G.”

35 “Justin G.”

36 “Kalvim W.”

37 “Kelly K.”

38 “Kevin 8.”

39 “Lamar M.”

40 “Michael B.”

41 “Michael P.”

42 “Pheng C.”

43 “Pu H.”

44 “Richard C.”

45 “Ronald Z.”

46 “Ruben G.”

47 “Scott O.”

48 “Shunquez L.”

49 “Steven A.”

50 “Steven L.”

51 “Thomas K,”

52 “Thomas K.”

53 “Tony C.”

54 “Victor C.”

55 “Victor K.” ,

56 ““Weichong C.”

57 “Yu D.”

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j. Between on or about February 25, 2022, and on or about August 2, 2023,
CHAPMAN and her coconspirators paid the fees associated with OBCS-1

accounts in CHAPMAN ’s name via the following methods:

Sub- | Number of Total . MAN Ace
q{ | Transactions | Amount CHAE ZXCEOAAL
1 42 $ 501.20 | MST-2 Account A
2 11 $115.85 | MST-2 Account B
3 27 $ 189.00 | USFI-2 Account
k. On or about December 14, 2021, an overseas IT worker registered an account

with a California-based online background check service provider, OBCS-2.

1. Between on or about Deceinber 14, 2021, and on or about November 14, 2023,
coconspirator overseas IT workers used OBCS-2’s website to query more than
1,700 U.S. persons’ identities, in order to verify their information, including the

following 56 stolen U.S. persons’ identities which were used in the scheme:

Sub-¢ U.S. Identity
“Dong C.”
“Asolelei T.”
“Darius P.”
“Kevin S.”
“Cody W.”
“Daniel B.”
“Brian S.”
“WeiChong C.”
“Marcus M.”
“Jade H.”
“Sion W.”
“Kou T.”
“Ryan F.”
“James B.”
“Scott L.”
“Willy E.”

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17 “Curtis W.”

18 “Royd L.”

19 “Steven L.”
20 “Nathanael D.”
21 “Joseph P.”

22 “Michael G,”
23 “Breeyan C.”
24 “Daniel P.”

25 “Kentrell M.”
26 “Alexander M.”
27 “Jami J.”

28 “Justin S.”

29 “Matthew L.”
30 “Sutton A.”
31 “Troy S.”

32 “Nathan H.”
33 “Randy B.”
34 “Raymond S.”
35 “Phong T.”

36 “Joshua T.”

37 “Jerry P.”

38 “Michael H.”
39 “Charles W.”
40 “Michael P.”
4] “Michael P.”
42 “Pheng C.”

43 “Pu H.”

44 “Richard C.”
45 “Ronald Z.”
46 “Ruben G.”
47 “Scott O.”

48 “Shunquez L.”
49 “Steven A.”
50 “Steven L.”
51 “Thomas K.”
52 “Tony C.”

53 “Victor C.”

54 “Victor K.”

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| 55 “Weichong C.”
| 56 “Yu D.”

m. Between on or about December 15, 2021, and on or about October 16, 2023,
coconspirator overseas actors made payments to OBCS-2 for associated
searches using a third MST-2 account controlled by CHAPMAN (hereinafter
“MST-2 Account C”).

n. On or about September 21, 2023, CHAPMAN messaged with a coconspirator
overseas IT worker using the screenname “Chai D.,” wherein Chai D. asked
CHAPMAN to retrieve a physical badge at Company 5, a Fortune 500
aerospace and defense manufacturer. CHAPMAN said she would send one of
her assistants, but noted that “they don’t know that you guys use ‘borrowed
identities’.”” CHAPMAN asked Chai D. whether he was indeed “Ryan F.,” the
worker employed at Company 5 who had received a physical badge. Chai D.
answered, “no” and CHAPMAN replied, “So it’s a stolen identity...And you’re
asking me to have my assistant handle something that is illegal.”

0. On or about October 12, 2023, Chai D. sent CHAPMAN a message related to
a payment for CHAPMAN’: assistant picking up the Company 5 physical ID.
CHAPMAN responded, “That’s actually Zhonghua’s account. He’ll have to
send it to me from there.”

p. On or about October 12, 2023, CHAPMAN received a payment for $200 from
MST-1 from an account with the name of “Venechor S.,” an account associated
with Zhonghua.

q. On or about November 15, 2022, CHAPMAN messaged with an overseas IT

worker using the screenname “Alexander The Great” (“AT”), wherein AT asked

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CHAPMAN for assistance creating a background story for a stolen U.S. person
identity, “Daniel B.” AT noted that the real Daniel B. had a criminal record and
employers were asking for more information as to what offenses were
committed. CHAPMAN provided a cover story and asked “What information
do you know about Daniel B[.]?? Do you know his race?” AT responded that
the real Daniel B. was “a black man” but that he (AT) was Asian. AT then gave

CHAPMAN his “real full name,” which was a Chinese name.

e Transmitting False Information to Gain Employment, Including to DHS

Yr.

On or about the following dates, coconspirator overseas IT workers applied for
employment with U.S. companies and caused U.S. companies to transmit false
information, to include false information about U.S. persons’ identities and false

documents to DHS USCIS via the E-Verify system, in order to verify

employment eligibility:

Case
a inated Tacutity n Document 1 State | Document 2
ate

1 7/1/2021 “Asolelei T.” State Driver’s License/ID_ | CA 2 moa
2 11/4/2021 | “Asolelei T.” State Driver’s License/ID | CA SS Card

3 12/15/2021 | “Asolelei T.” State Driver’s License/ID | CA SS Card

4 4/28/2022 | “Asolelei T.” State Driver’s License/ID | CA SS Card

5 9/21/2022 | “Asolelei T.” State Driver’s License/ID | CA SS Card

6 11/3/2022 | “Asolelei T.” State Driver’s License/ID | CA SS Card

7 11/1/2022 | “Breeyan C.” State Driver’s License/(ID | CA SS Card

8 12/5/2022 | “Breeyan C.” State Driver’s License/ID | CA SS Card

9 7/20/2023 | “Breeyan C.” State Driver’s License/ID | CA SS Card

10 6/14/2023 | “Brian S.” State Driver’s License/ID | AL SS Card

11 3/10/2023 | “Chai D.” State Driver’s License/ID | TX SS Card

12 4/18/2022 | “Charles C.” State Driver’s License/ID | CA SS Card

13 4/26/2022 | “Charles C.” State Driver’s License/ID | CA SS Card

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14 | 6/24/2022 | CcnarlesMallee | state Driver's License/ID | CA | SS Card
15 9/25/2023 | “Cody W.” State Driver’s License/ID | AL SSCard |
/16 | 9/26/2023 _| “Cody W.” State Driver’s LicenseID | AL | SS Card
17 10/13/2023 | “Cody W.” State Driver’s License/ID | AL SS Card
18 10/12/2022 | “Daniel B.” State Driver’s License/ID | NY SS Card
19 10/17/2022 | “Daniel B.” State Driver’s License/ID | NY SS Card
20 11/15/2022 | “Daniel B.” State Driver’s License/ID | NY SS Card
21 5/12/2023 | “Darius W.” State Driver’s License/ID | SC SS Card
22 5/15/2023 | “Darius W.” State Driver’s License/ID | SC SS Card
23 9/27/2023 | “Darius W.” State Driver’s License/ID | SC SS Card
24 10/11/2023 | “Darius W.” State Driver’s License/ID | SC | SS Card
| 25 10/19/2023 | “Darius W.” State Driver’s License/ID | SC SS Card
26 | 5/10/2021 | “David S” ae eey from U.S. g0V. | jg eee
Cons Rep of
27 7/6/2021 “David 8.” State Driver’s License/ID | GA Birth Abroad
(FS-240)
Cert of Rep of
28 8/19/2021 | “David S.” State Driver’s License/[ID | GA Birth (DS-
1350)
Cert of Rep of
29 | 11/29/2021 | “David Ss.” ID card from US. gov. fj, | Birth (DS.
agency 1350)
30 1/11/2022 | “David S.” State Driver’s License/ID | GA i birth
certificate
31 1/14/2022 | “David S.” State Driver’s License/ID | GA ph
certificate
32 | 4/11/2022 | “David S.” State Driver’s LicenseID | GA | U-S: birth
certificate
33 4/28/2022 | “David 8.” State Driver’s License/ID | GA oS oa
certificate
34 6/10/2022 | “David S.” State Driver’s License/ID | GA Us: obathy
certificate
35, | 6/13/2022 | “David S.” State Driver’s License/ID | GA i oo
certificate
36 7/3/2023 =| “Dong C.” State Driver’s License/ID | TX SS Card
37 9/18/2023 | “Dong C.” State Driver’s License/ID | TX SS Card
38 10/3/2023 | “Dong C.” State Driver’s License/ID | TX SS Card
39 11/22/2023 | “Dong C.” State Driver’s License/ID | TX SS Card
40 3/23/2022 | “Frank A.” State Driver’s License/ID | TX SS Card

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4] 4/8/2022 “Frank A.” State Driver’s License/ID | TX SS Card
42 6/3/2022 “Frank A.” State Driver’s License/ID | TX SS Card
43 7/13/2022 | “Frank A.” State Driver’s License/ID | TX SS Card

44 7/19/2022 | “Frank A.” State Driver’s License/ID |'TX SS Card

45 7/28/2023 | “Frank A.” State Driver’s License/ID | TX SS Card

46 2/21/2022 | “Frank C.” State Driver’s License/ID | TX | SS Card

47 4/27/2022 | “Frank C.” : State Driver’s License/ID | TX SS Card

48 3/2/2021 “Guillermo C.” | Alien Resident Card n/a n/a

49 6/7/2021 “Guillermo C.” | Alien Resident Card n/a n/a

50 8/26/2021 | “Guillermo C.” | Alien Resident Card n/a n/a

51 5/3/2022 “Guillermo C.” | State Driver’s License/ID | NV SS Card

52 5/4/2022 “Guillermo C.” | State Driver’s License/ID | NV SS Card ~

53 5/9/2022 “Guillermo C.” | Alien Resident Card n/a n/a

54 5/11/2022 | “Guillermo C.” | State Driver’s License/ID | NV SS Card

55 5/11/2022 | “Guillermo C.” | State Driver’s License/ID | NV SS Card

56 5/20/2022 | “Guillermo C.” | State Driver’s License/ID | NV SS Card

57 5/23/2022 | “Guillermo C.” | State Driver’s License/ID | NV SS Card

58 10/5/2022 | “Guillermo C.” | State Driver’s License/ID | NV SS Card

59 10/20/2022 | “Guillermo C.” | State Driver’s License/ID | NV SS Card

60 | 3/23/2023 | “Jack W.” Co PasspommPassport | n/a | nla
| 61 12/28/2021 | “Jacob L.” State Driver’s License/ID | CA SS Card

62 7/7/2022 “Jacob L.” State Driver’s License/ID | CA SS Card

63 9/7/2023 “Jade H.” State Driver’s License/ID | MI SS Card

64 10/18/2023 | “Jade H.” State Driver’s License/ID_ | MI SS Card

65 5/18/2023 | “James B.” State Driver’s License/ID | PA SS Card

66 7/11/2023 | “James B.” State Driver’s License/ID | PA SS Card

67 8/22/2023 | “James B.” State Driver’s License/[D | PA SS Card

68 2/8/2022 “Jungwoo L,” State Driver’s License/ID | AR SS Card

69 2/8/2022 “Jungwoo L.” State Driver’s License/ID | AR SS Card

70 2/8/2022 “Tungwoo L.” State Driver’s Licerise([ID | AR SS Card

71 2/8/2022 “Jungwoo L.” State Driver’s License/ID | AR SS Card

72 2/8/2022 “Jungwoo L.” State Driver’s License/ID | AR SS Card

73 2/8/2022 “Jungwoo L.” State Driver’s License/ID | AR SS Card

74 2/9/2022 “Jungwoo L.” Alien Resident Card n/a n/a

75 12/30/2022 | “Kevin S.” State Driver’s LicenseAD | SC SS Card

76 1/23/2023 | “Kevin S.” State Driver’s License/ID | SC SS Card

77 3/17/2023 | “Kevin S.” State Driver’s License/ID | SC SS Card

23

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78 6/26/2023 | “Kevin S.” State Driver’s License/ID | SC SS Card
79 9/27/2021 | “Lee Y.” State Driver’s License/ID | CA SS Card
80 12/3/2021 | “Lee Y.” State Driver’s License/ID | CA SS Card
81 2/17/2022 | “Lee Y.” State Driver’s License/ID | CA SS Card
82 4/28/2022 | “Lee Y.” State Driver’s License/ID | CA SS Card
83 5/6/2022 “Lee Y.” State Driver’s License/ID | CA SS Card
84 | 6/28/2022 | “Lee Y.” State Driver’s License/ID | CA | SS Card
85 7/26/2022 | “Lee Y.” State Driver’s License/ID | CA SS Card
86 8/11/2022 | “Lee Y.” State Driver’s License/ID | CA SS Card
87 8/23/2022 | “Lee Y.” State Driver’s License/ID | CA SS Card
88 8/29/2022 | “Lee Y.” State Driver’s License/ID | CA SS Card
89 9/1/2022 “Lee Y.” State Driver’s License/ID | CA SS Card
90 10/18/2022 | “Lee Y.” State Driver’s License/ID | CA SS Card
91 10/24/2022 | “Lee Y.” State Driver’s License/ID | CA SS Card
92 11/1/2022 | “Lee Y.” State Driver’s License/ID | CA SS Card
93 9/19/2022 | “Marcus M.” State Driver’s License/ID | MN _ | SS Card
94 9/27/2022 | “Marcus M.” State Driver’s License/ID | MN SS Card
95 | 3/14/2023 | “Marcus.” | US, PassportPassport —taya | n/a

96 11/1/2023 | “Marcus M.” State Driver’s License/ID | MN_ | SS Card
97 3/21/2023 | “Matthew R.” State Driver’s License/ID | FL SS Card
98 4/4/2023 “Matthew R.” State Driver’s License/ID | FL SS Card
99 11/14/2022 | “Michael G.” State Driver’s License/ID | PA SS Card
100 | 6/28/2023 | “Nathanael D.” | State Driver’s License/ID | NY SS Card
101 | 6/5/2023 “Ryan F.” State Driver’s License/ID | MD_ | SS Card
102 | 8/2/2023 “Ryan F.” State Driver’s License/ID | MD_ | SS Card
103 | 8/2/2023 “Ryan F.” State Driver’s License/ID | MD_ | SS Card
104 | 9/14/2023 | “Ryan F.” State Driver’s LicenseID | MD_ | SS Card
105 | 4/13/2022 | “Salem 0.” a - Passporue assport va ina

106 | 7/25/2023 | “Sion W.” State Driver’s License/ID | CA SS Card
107 | 1/30/2023 | “Steven L.” State Driver’s License/ID | AL SS Card

S. Between on or about April 22, 2022, and on or about April 26, 2022,
CHAPMAN messaged with a coconspirator overseas IT worker using the

screenname “Max,” wherein they discussed CHAPMAN assisting in submitting

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a Form I-9 to a U.S. company for the U.S. person identity “Weichong C.”:
Max: So we need to send envolop [sic] to any USPS location to receive the
equipment. I want you to print the following forms and sign with my name
and sent it to them. Please help me, Christina.

[MEDIA ITEM: Label-Weichong C.pdf]
[MEDIA ITEM: I-9 Electronic Blank.pdf] ....
CHAPMAN: Your I-9 didn’t come through properly. I can’t print it out... .

CHAPMAN: I finally got it printed. I will copy the information tomorrow
and get it sent out.

Max: Got it[] Got it... . Please ship out the hand signed I-9 form by the end
of the day” The company send message again. Could you please help me
today?

CHAPMAN: Yes. I’ll get it out today. . . . I did my best to copy your
signature.

Max: haha. Thank you.
CHAPMAN: Your paperwork got sent out today.

t. On or about August 2, 2023, CHAPMAN had a group messaging conversation
that included several coconspirator overseas IT workers, in which CHAPMAN
acknowledged the severity of falsifying employment eligibility forms (i.e., the
Form I-9). Specifically, CHAPMAN stated, “In the future, I hope you guys can
find other people to do your physical 19s. These are federal documents. I will
SEND them for you, but have someone else do the paperwork. I can go to
FEDERAL PRISON for falsifying federal documents.”

u. Between on or about August 28, 2023, and on or about August 29, 2023,
CHAPMAN messaged with a coconspirator overseas IT worker using the
screenname “Chong,” wherein they discussed CHAPMAN’s assistance in

transmitting false identity documents to a U.S. employer for employment

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eligibility verification:

Chong: I received an offer from [Company 55]... . [C]Jould you please
print two documents on paper and deliver to NY? . , . It’s not a card, it’s a
paper. The temporary DL card. Can you help me with that? ... Because I
can’t make a valid DL card, I said that I had lost my DL card. The company
provided another option —I can do the drug test with the temporary DL card
in my hand. So I have to find another person who can do the drug test with
the document once you print them. I checked by online research for [sic]
several times and it’s said that the temporary DL card doesn’t have barcode
or hologram. And it can be printed by myself as well. So I think it’s possible
as long as you can print them for me. [What is your thought?

CHAPMAN: If I’m just printing and sending. .. .

Chong: Great....

[MEDIA ITEM: image:2023 08 28T18_47. 34 462Z.png|

Just one more thing, is this the right form of Alabama temporary DL card?
Do you have any of idea?

CHAPMAN: I guess. It’s the same image | get when I Google.

Chong: Thanks. . . . Hi Christina. Please print follow documents.
[MEDIA ITEM: Drug Screen Registration.pdf]

[MEDIA ITEM: Stephen Kyle C[|TemporaryDL.pdf]

[MEDIA ITEM: Clinic Authorization Form —-AOH C[].pdf]

Please print them and send to this address — [Address] Brooklyn NY.
Please share tracking number once you’ve finished. ...

CHAPMAN: Just waiting for a pick up [sic].

e Employment in United States Through CHAPMAN’s Laptop Farm & Other

Assistance

Vv.

On or about the following dates, coconspirator overseas IT workers obtained
employment and performed remote IT work for U.S. companies, while the
laptops provided for this work were hosted by CHAPMAN at a laptop farm in

one of her residences:

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ue . Staffing
Su] surepate | US Feron | Vien Company | Compuiy | "unons)
- y (if applicable) | - wn) |
1 7/5/2022 “Asolelei T.” Company 10 $156,826.00
2 5/31/2023 “Brian S.” Company 11 $88,061.00
“Del. ” Staffing
3 6/12/2023 Brian 8. Company 12 Corapany10
4 | 4/14/2022 | “Charles C.” Staffing $208,562.00
Company 11
5 9/26/2023 “Cody W.” Company 13 $7,269.92
‘ 09 Staffing
6 9/25/2023 Cody W. Company 14 Company 12
= . 7 Staffing
i 4/17/2023 Curtis W. Company 7 Commas
z . ” Staffing
8 5/1/2023 Curtis W. Company 15 Commany.i8
9 4/30/2023 “Danie P.” Company 16
10 11/21/2022 ‘| “Daniel B.” Company 1 $121,213.00
11 10/31/2022 | “Daniel B.” Company 17 $3,889.00
12 10/31/2022 | “Daniel B.” Company 18
13 5/31/2023 “Darius W.” Company 19
14 | 10/31/2023 | “Darius W.” Staffing $11,011.00
Company 11
15 5/15/2023 “Darius W.” Company 20 $67,084.00
16 | 4/7/2022 “David S.” Company 4 Staffing $86,778.00
Company 3
17 | 10/3/2023 ‘| “Dong C.” Company 21 Staffing $8,568.00
, Company 14 a
1g | 9/18/2023 ‘| “Dong C.” Snes $8,639.00
Company 9
« » Staffing
19 3/21/2022 Dung N. $101,646.35
Company 16
20 |anano22 | «Franke __ | Multiple, including | Stalling $214,596.00
Company 6 Company 5
a1 | 9/7/2023 ‘| “Frank C.” Company 7 Staffing $40,320.00
Company 6
22 | 7/18/2022 ‘| “Frank C.” Company 22 Staffing $115,248.00
Company 17
23 3/31/2023 “Frank C.” Company 23

27

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24 | 5/9/2022 ‘| “Guillermo C.”_| Company 24 a $41,175.00
ompany 3
25 | 5/23/2022 | “Guillermo C.” | Company 25 youn $81,004.00
Company 33).
26 4/20/2023 “Guillermo C.” | Company 26
27 | 5/11/2022 ‘| “Guillermo C.”_ | Company 27 Staffing $17,150.00
Company 18
28 | 11/5/2022 ~—‘| “Irving B.” Company 28 Staffing $60,551.22
_— Company 19 a
29 9/5/2023 “Jade H.” Company 29 $23,017.00
30 | 10/16/2023 | “Jade H.” Company 30
31 1/4/2023 “Jamal M.” Company 31
32 | 7/24/2023 |“JamesB.” | Company 32 Staffing $14,400.00
Company 31
és ” Staffing
33 5/26/2022 JungWoo L. $9,135.00
Company 16
34 | 1/30/2023 “Kentrell M.” Company 33
7 7 Staffing
35 1/31/2023 Kentrell M. Company 34 Company 32
36 | 6/16/2023 _—‘| “Kevin S.” Company 2 a $35,815.00
ompany 1
37 | 10/18/2021 | “Kou T” Company 35 Staffing
. Company 20
38 10/17/2022 | “Lee Y.” Company 36 $3,553.34
39 6/27/2022 “Lee Y.” Company 37
40 8/29/2022 “Tee Y.” Company 38 $130,661.07
Al 10/24/2022 | “Lee Y.” .| Company 39
42 9/30/2022 “Marcus M.” Company 40
Staffing
« 55 Company 3 and
43 3/20/2023 Marcus M. Company 9 Staffing
Company 27
44 9/26/2022 “Marcus M.” Company 41 $9,225.00
45 | 1/17/2022 | “Matthew L.” | Company 42 Staffing
Company 5
46 5/31/2022 “Matthew L.” Company 43
AT 4/3/2023 “Matthew R.” Company 44 $76,923.00
4g | 4/26/2023 —‘| “Royd L.” Staffing
Company 8

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“ ” Staffing

49 Baines Ryan i Company 5 Company $36,586.00

50 | 7/31/2023 —*| “Ryan F.” Company 45 Staffing $31,777.00
Company 21 a

51 9/18/2023 “Ryan F.” Company 46

52 | 6/6/2022 “Ryan 8.” Staffing
Company 3

53 4/11/2022 “Salem O.” Company 47 $83,620.00

54 4/25/2023 “Scott L.” Company 48 $81,250.00

55 6/26/2023 “Scott L.” Company 49

56 | 7/24/2023 ‘| “Sion W.” Staffing $24,378.00
Company 7

57 4/8/2022 “WeiChong C.” | Company 50 $234,840.00

58 | 7/19/2022 __| “William P.” Company 51 Staffing $63,280.00
Company 22

eae 7 Staffing

59 10/2/2023 Willy E. Company 7 Company 22

60 11/30/2022 | Unknown Company 52

Total $2,298,051.90

Company 1
Ww. On or about November 21, 2022, a coconspirator overseas IT worker using the

U.S. identity “Daniel B.” obtained a job at Company 1 for a remote position as

a software engineer for Company 1’s digital streaming service, see supra

{ 23(b)Gi). The coconspirator overseas IT worker provided CHAPMAN’s

address to Company 1’s Human Resources department as his permanent

residence.

x. On or about November 16, 2022, CHAPMAN received a package addressed to

“Daniel B.” containing a laptop for his employment at Company 1. CHAPMAN

affixed.a hand-written note with the name of “Daniel B.” and Company 1 on

the laptop.

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y. On November 21, 2022, CHAPMAN messaged with céconspirator AT, wherein
they discussed CHAPMAN’s assistance with setting up the laptop for AT to
work at Company 1. After rurining through the process of getting the laptop set
up for use (to include exchanging log-in credentials for the laptop), CHAPMAN
installed AnyDesk, a remote login application, and stated:

CHAPMAN: This computer SHOULD have been loaded with the necessary
software. Can you control?

AT: Yes, I can control. [Company 1] Anydesk is not available, I think it’s
probably screen lock issue. Could you please remove Anydesk and install it
again inside download? and please unlock screensavor [sic] forever. . . .
AT: Hi, please help me, it’s very urgent. I have to meet team in 30 mins.
CHAPMAN then responded to AT and helped with the AnyDesk re-download.
De Between on or about November 22, 2023, and on or about November 23, 2023,
CHAPMAN had further messages with AT about technical assistance for the
Company 1’s laptop:

AT: Could you follow these for [Company 1]’s laptop? I can not [sic] do
these by myself because it requires to do restart... . .

AT: We are going to have laptop setup meeting in 20 mins. Can you join
Teams meeting and follow what IT guy say? Because it will require to
restart laptop multiple times and I can not [sic] handle that. You can mute
and just follow what they say, they have access to entire screen and will
control of most of things without you. However, you have to restart it
inevitably ....

AT: You can join Teams meeting from your phone or your own laptop. ...
CHAPMAN: Who do I say Iam?

AT: You don’t have to say, I will be joining there too.

CHAPMAN: It’s going to have my name on it, right?

AT: You just mute and listen, then follow what she instruct, she may ask you

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aa.

bb.

cc.

dd.

ce.

to restart laptop... .

CHAPMAN: I just typed in the name Daniel. If they ask WHY you aré using
two devices, just say the microphone on your laptop doesn’t work right.

AT: Ok

CHAPMAN: Most IT people are fine with that explanation.

Company 2 / Staffing Company 1

On or about June 16, 2023, a coconspirator overseas IT worker using the U.S.
identity “Kevin S.” obtained a position at Staffing Company 1 for a remote
position as a software engineer. The resume for “Kevin S.” included a list of
skills to include “Python,” a programming software, see supra { 23(b)(ii).

On or about July 17, 2023, “Kevin S.” began a contractor assignment at
Company 2, a health care administration company located in Missouri.

On or about July 13, 2023, CHAPMAN received a package addressed to “Kevin
S.” at her residence, which included a Company 2 laptop for remote work.
CHAPMAN affixed a hand-written note with the name of “Kevin S.” and

Company 2’s name on the laptop.

Company 3 / Staffing Company 2

On or about May 17, 2022, CHAPMAN exchanged communications with a user
listed as “Mobile & Web Projects” (“M&W”) related to a laptop for a job
contracted through Staffing Company 2, see supra § 23(b)(iii). M&W told
CHAPMAN that a laptop would soon be arriving from Company 3 / Staffing
Company 2 and to “ping me” when it arrived.

On or about May 19, 2022, CHAPMAN confirmed that the Company 3

/ Staffing Company 2 laptop had arrived.

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ff.

88.

bh.

ii,

ji.

On or about May, 20 2022, CHAPMAN and M&W messaged about the setup

process for this laptop, to include installing AnyDesk.

Company 4/ Staffing Company 3

On or about April 7, 2022, a coconspirator overseas IT worker using the U.S.
identity “David S.,” who had obtained employment at a staffing company,
Staffing Company 3, was assigned to a remote position at Company 4, a Fortune
500 Silicon Valley technology company. CHAPMAN received a Company 4
laptop for “David S.” at her residence and maintained it there.

On or about April 11, 2022, CHAPMAN messaged with a coconspirator
overseas IT worker using the screenname “BH.” BH asked, “Any laptop was
delivered under ‘David S.’?” CHAPMAN responded that it had arrived. BH
wrote, “I want to access that remotely You know how to install Anydesk?”
CHAPMAN responded, “I do it practically EVERYDAY!” CHAPMAN then
installed AnyDesk and set up the laptop for remote work. BH later confirmed

that the set up worked and he was able to control the laptop remotely.

Company 5 / Staffing Company 4

On or about August 2, 2023, a coconspirator overseas IT worker using the U.S.
identity “Ryan F.,” who had obtained employment at Staffing Company 4, a
staffing company, was assigned to a remote position at Company 5.
CHAPMAN received a Staffing Company 4 laptop at her residence.

On or about September 26, 2023, Company 5 sent a company-issued laptop to
“Ryan EF.” to CHAPMAN’s redidence, which had a PIV card, issued by

Company 5 in the name of “Ryan F.”, associated with it.

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Company 6 / Staffing Company 5

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On or about April 14, 2022, a coconspirator overseas IT worker using the U.S.
identity “Frank C.” obtained a remote IT position at a staffing company,
Staffing Company 5.

On or about February 6, 2023, “Frank C.,” still being employed by Staffing
Company 5, was contracted to Company 6, a Fortune 500 iconic American
automotive manufacturer located in Detroit, Michigan.
Between on or about February 6, 2023, and on or about February 8, 2023,
CHAPMAN messaged with an individual referred to as “Web Dev” (“WD”),
regarding the delivery of the Company 6 laptop.

On or about February 8, 2023, CHAPMAN received a shipment addressed to
“Frank C.” at CHAPMAN’s residence, which included a laptop for remote work
at Company 6. CHAPMAN affixed a hand-written note with “Frank C.’s” name
and log-in information on the laptop.

On or about February 14, 2023, WD and CHAPMAN messaged about the

Company 6 laptop:

WD: And could we do the computer setup for [Company 6] company
computer?. .. And could we connect my [Company 6] computer zoom to
Steve’s apple computer zoom link? (Because apple computer zoom is no
use so I am gonna use it for [Company 6] computer)

please join [Company 6] computer to this zoom.
Meeting Link: *** *** 5266

Passcode: ****x¢

CHAPMAN: I created a second desktop on [Company 6] for zoom, just in
case.

WD: Cool. How did you pass this step? What admin username and
password did you use? This one I mean.

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Pp.

qq.

8S.

CHAPMAN: I rarely have issues installing Zoom in computers... .
Anydesk is what required an admin username and password, not Zoom.

WD: Oh. I got it.... And for [Company 6] compute[sic], it is showing zoom
controlling alert now. . . .That seems due to my developer. joined... .

Anyway to hide it in my way?

CHAPMAN: Controlling alert.

Company 7 / Staffing Company 6

On or about August 1, 2023, a coconspirator overseas IT worker using the U.S.
identity “Frank C.” obtained employment with a staffing company, Staffing
Company 6, and was contracted for a remote IT position at Company 7, a
Fortune 500 high-end retail store with multiple U.S. locations.
On or about July 27, 2023, CHAPMAN messaged with an individual referred
to as “Project Manager” (“PM”), about the laptop for Company 7 being
delivered to CHAPMAN ’s address.
On or about July 31, 2023, CHAPMAN received a shipment to “Frank C.” at
CHAPMAN ’s residence, which included a Company 7 laptop for remote work.
CHAPMAN affixed a hand-written note with the name “Frank C.” and
“Company 7.”
On or about August 3, 2023, after the laptop arrived at CHAPMAN’s residence,
CHAPMAN and PM argued over a messaging application about whether
CHAPMAN would set up the laptop that day, given her prior promises to set up
laptops for other overseas IT workers:

CHAPMAN: I didn’t say setup should be today. . . . I’ll tell the other people

who start TOMORROW morning, that Yuri says he’s more
important .... Will they know you are Yuri over there?

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uu.

VV.

PM: Let me know who is planed [sic] for today, I will have a talk with them.
Yes.

CHAPMAN: Because I don’t know who is on who’s team, or who know
about each other... I can’t reveal other names. I got some people in trouble
for that before.

Company 8

On or about October 16, 2023, a coconspirator overseas IT worker using the
U.S. identity “Darius W.” obtained a remote software engineer position at
Company 8, a restaurant chain headquartered in Michigan. As a software
engineer, “Darius W.” had access to sensitive segments of Company 8 servers.
“Darius W.” requested the Company 8 laptop be sent to CHAPMAN’s
residence.

On or about October 24, 2023, “Darius W.” took leave, claiming that his father
had fallen ill. He did not return to work following his absence and continued
his unpaid leave.

Between on or about October 16, 2023, and on or about November 9, 2023,
“Darius W.” accessed and downloaded large amounts of information from

Company 8 servers.

Company 9

Www.

Beginning on or about March 20, 2023, a coconspirator overseas IT worker
using U.S. identity “Marcus M.,” who had obtained employment at a staffing
company, was contracted to Company 9, a classic American clothing brand
headquartered in California, for a remote position. Company 9 sent a shipment
to “Marcus M.” at CHAPMAN’s residence, which included a laptop for remote

work.

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XX.

YY:

ZZ.

Between on or about September 9, 2023, and on or about October 4, 2023,
“Marcus M.,” caused what appeared to be 15 separate exfiltrations of data from

IP addresses, which appeared to resolve to a location in Nigeria.

Attempts at U.S. Government Agencies

On or about June 29, 2023, a coconspirator overseas IT worker using the U.S.
identity “Sion W.” obtained employment at Staffing Company 7, a staffing
company, to work in a contractor remote position with the DHS Immigration
and Customs Enforcement (“ICE”), a US. Government Agency located in the
District of Columbia. “Sion W.” provided CHAPMAN’s residence as the home
address on the DHS paperwork. Subsequently, on or about October 24, 2023,
Staffing Company 7 HR staff reached out to “Sion W.” stating that they needed
to speak about “identity issues” and needed “Sion W.’s” birth certificate or
passport. DHS/ICE required fingerprints be submitted for its contractor
positions. “Sion W.” did not submit fingerprints, was not verified to work as a
contractor for DHS/ICE.

On or about April 25, 2023, a coconspirator overseas IT worker using the U.S.
identity “Royd L.” obtained employment at Staffing Company 8, a staffing
company, to work in a contractor remote position with DHS Federal Protective
Service (“FPS”). “Royd L.” listed CHAPMAN’s address on his application for
employment with Staffing Company 8. Subsequently, on or about April 27,
2023, DHS/FPS provided “Royd L.” forms and instructions necessary for
“Royd L.” to complete his background check for the contractor position,

including information for scheduling a required fingerprint examination.

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aaa.

bbb.

ccc,

ddd.

On or about May 3, 2023, “Royd L.” informed Staffing Company 8 that he had
a death in the family and would not be available for a week.
On or about May 8, 2023, “Royd L.” informed Staffing Company 8 that he was
quitting the job due to the need to stay to support his family.
On or about September 27, 2023, a coconspirator overseas IT worker using the
US. identity “Dong C.,” who had obtained employment at a staffing company,
Staffing Company 9, was contracted for a remote IT position to the General
Services Administration (“GSA”), a U.S. Government Agency located in the
District of Columbia. “Dong C.” provided CHAPMAN’s address as his home
address to the staffing company and listed “Christina” as his “spouse.”
On or about September 27, 2023, “Dong C.” virtually attended a GSA staff
meeting but was unable to communicate besides introducing himself. Thereafter,
he attended several other meetings without speaking and was otherwise unable
to be reached. On or about October 2, 2023, GSA staff made the determination

to terminate “Dong C.” as a contractor.

Other Assistance Provided by CHAPMAN to Overseas IT Workers

eee.

On or about February 25, 2022, CHAPMAN provided technical assistance to
coconspirator overseas IT workers over messaging applications. CHAPMAN
messaged with Zhonghua about logging into a laptop. CHAPMAN attempted
to log into the laptop using the username and password that Zhonghua provided
to her. CHAPMAN told Zhonghua that they had already tried to log in using
those login credentials. Zhonghua asked her to try it again and CHAPMAN sent

an image of a laptop screen which showed the username or password was

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incorrect and told Zhonghua, “We are locked out again. Please verify.”

fF. On or about March 24, 2022, CHAPMAN messaged with Zhonghua, wherein
Zhonghua requested CHAPMAN’s assistance in obtaining an IRS Wage and
Tax Statement (a Form W-2 or “W-2”) for a coconspirator overseas IT worker
“Matthew” and sought samples of W-2s as it was “really important for our
work.”
ggg. On or about the following dates, CHAPMAN furthered the Conspiracy by
sending laptops and other devices issued by U.S. companies to the following
overseas locations, to facilitate remote work at U.S. companies, including to
Dandong, China, a city on the border with North Korea:
Receiver Receiver ; ms
Sub-{ Date Name Location Shipment Description
1 12/9/2022 | JIN Laptops - Computer Laptop
2 12/9/2022 | JIN Laptops - Computer Laptop
3 12/16/2022 | JIN Laptops - Work Laptop. Not
4 12/16/2022 | JIN Laptops - Work Laptop. Not
Dandong, China
5 12/20/2022 | IT Worker 1 Laptops - 1 Used Apple Laptop
6 12/20/2022 | IT Worker 1 Laptops - 1 Used Apple Laptop
qj 12/20/2022 | IT Worker 1 Laptops - 1 Used Apple Laptop
8 12/23/2022 | JIN Laptops - Used Laptop
9 12/23/2022 | JIN Laptops - Used Laptop
10 12/23/2022 | JIN Laptops - Used Laptop
11 1/12/2023 | XU Computer
| 12 1/12/2023 | XU Computer
13 1/12/2023 | JIN Computer
14 1/12/2023 | JIN Computer
15 1/18/2023 | JIN Phone
16 1/18/2023 | JIN Phone
17 2/6/2023 JIN Computer
18 2/6/2023 JIN Computer
19 2/22/2023 | JIN Computer

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2/22/2023

20 JIN Computer
Dandong, China
21 3/16/2023 | JIN g Used Samsung Tablet USB AC
ADA -
1 3/16/2023 | JIN Used Samsung Tablet USB AC
ADA
73 3/16/2023 | xU Refurbished Samsung Galaxy
Mob
24 3/16/2023 | xU Refurbished Samsung Galaxy
Mob
25 4/1/2023 XU Computer
26 4/1/2023 XU Computer
27 | 4/6/2023 | IT Worker2 | Kavachi. .
Pakistan
28 4/6/2023 IT Worker 3 Yanji City, Company 16 TV Stick
29 4/6/2023 | IT Worker3 | China Company 16 TV Stick
30 4/10/2023 | XU Computer
3] 4/10/2023 | XU Dandone. Chi Computer
32 | 4/19/2023 | JIN amen" T Cell Phones - 2 Used Cell
33 4/19/2023 | JIN Cell Phones - 2 Used Cell Phon
34 5/2/2023 IT Worker 4 Shenvane. China Used Macbook Computer
35 5/2/2023 IT Worker 4 ae - | Used Macbook Computer
36 5/3/2023 | IT Workers | Satachi, Computer
Pakistan
37 5/13/2023 | IT Worker 6 Computer
bai
38 | 5/13/2023 |IT Workero | PU UAE Computer
39 | 5/18/2023 |IT Worker7 | arachi, .
Pakistan
40 5/30/2023 | IT Worker 8 ass Computer
Abuja, Nigeria
4] 5/31/2023 | IT Worker 8 Laptops - Laptop, Not for Re S
42 6/13/2023 | IT Worker 9 | Mac Laptop
43 6/13/2023 | IT Worker 9 Mac Laptop
44 7/8/2023 JIN Dandong, China | Laptops - 2 Used Laptops. Not
45 7/19/2023 | KU Laptops - 1 Laptop for business
46 7/19/2023 | XU Laptops - 1 Laptop for business
Karachi, .
47 7/22/2023 | IT Worker 7 Pakistan Laptops - 1 Laptop For business
48 8/29/2023 | IT Worker 10 . Computer - New Mac Apple
Shenyang, China
49 8/29/2023 | IT Worker 10 Computer - New Mac Apple

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Transmission of False Employment Data to IRS and SSA

hhh. Between on or about January 1, 2022, and on or about January 31, 2024, the
coconspirators caused U.S. companies to transmit false wage and tax
information on more than 100 occasions to the SSA and the IRS for the wages
earned by the overseas IT workers under the scheme, in the name of the
following U.S. persons, when those U.S. persons did not in fact earn such wages
and which the U.S. companies did not know was associated with stolen or
borrowed U.S. identities:
Total False
“ Us jRersom 2021 Wages | 2022 Wages | 2023 Wages Wages
it ss _ | Reported
1 “Asolelei T.” $62,137.00 | $486,728.00 | $265,911.00 | $814,776.00
2 “Breeyan C.” $21,280.00 $56,973.00 $78,253.00
3 “Brett 8.” $28,110.00 $94,865.00 $122,975.00
4 “Brian S.” $88,061.00 $88,061.00
5 “Charles C.” $106,444.00 | $114,280.00 | $220,724.00
6 “Chuck C.” $103,444.00 | $183,212.00 $286,656.00
ai “Cody W.” $9,053.00 $41,520.00 $50,573.00
8 “Daniel B.” $40,396.00 $114,320.00 | $154,716.00
9 “Daniel M.” $1,457.00 $27,691.00 $29,148.00
10 “Darius W.” $176,296.00 | $176,296.00
11 “David S.” $160,580.00 | $403,640.00 . $564,220.00
12 “Dong C.” $22,037.00 $26,347.00 $48,384.00
13 “Dustin 8.” $23,539.00 $22,582.00 $46,121.00
14 “Frank C.” $12,183.00 | $468,463.00 | $471,463.00 | $952,109.00
15 “Guillermo C.” | $202,161.00 | $409,005.00 $611,166.00
16 “Jack W.” $11,592.00 $11,592.00
17 “Jacob L”, $150,569.00 | $17,508.00 $168,077.00
18 “Jade H.” $23,017.00 $23,017.00
19 “James B.” $43,782.00 $43,782.00
20 “Jared G.” $32,015.00 | $10,707.00 $19,639.00 $62,361.00
21 “Joseph P.” , $67,265.00 $67,265.00
22_~‘| “JungWoo L.” $85,802.00 $85,802.00
23 “Kevin S.” $195,093.00 | $195,093.00

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24 “Lamar M.” $8,249.00 $8,249.00
25 “Marcus M.” $81,173.00 $211,403.00 $292,576.00
26 “Matthew R.” $70,329.00 $88,043.00 $158,372.00
27. ‘| “Michael G.” $46,996.00 $9,497.00 $56,493.00
28 | “Michael P.” $9,511.00 $9,511.00
29 | “Nathanael D.” $1,103.00 $1,103.00
30. =| “Ruben G.” $4,419.00 $4,419.00

3, | “Ryan FR” $119,034.00 | $119,034.00
32 =| “Salem O.” $83,620.00 $83,620.00
33 “Shunquez L.” | $23,138.00 | $75,500.00 $75,500.00 $174,138.00 |
34 “Sion W.” $24,378.00 $24,378.00
35 “Steven L.” $112,262.00 | $112,262.00

| 36 “Tavaris B.” $115,180.00 $115,180.00
37 “Thomas K.” $1,153.00 $1,153.00
38 “WeiChong C.” $131,889.00 | $129,873.00 $261,762.00

Totals | $595,658.00 | $2,950,613.00 | $2,777,146.00 | $6,323,417.00

(Conspiracy to Defraud the United States, in violation of Title 18, United States Code, Section
371)

COUNT TWO
(Conspiracy to Commit Wire Fraud)

24. The allegations in Paragraphs 1 through 23 of this Indictment are incorporated and
re-alleged by reference herein.

25. Between in or around March 2021, until on or about October 26, 2023, CHAPMAN
and others known and unknown to the Grand Jury, in the District of Columbia and elsewhere,
knowingly combined, conspired, and agreed together and with each other to devise and intended
to devise a scheme to defraud U.S. company employers and DHS through the transmission of false
information, and to obtain money and property by means of materially false and fraudulent
pretenses, representations, and promises, and for the purpose of executing the scheme described

above, and attempting to do so, caused to be transmitted by means of wire communication in

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interstate commerce the signals and sounds as described in Count One.

(Conspiracy to Commit Wire Fraud, in violation of Title 18, United States Code, Sections 1343
& 1349)

COUNT THREE
(Conspiracy to Commit Bank Fraud)

26. The allegations in Paragraphs | through 23 of this Indictment are incorporated and
re-alleged by reference herein.

27. Between on or about November 30, 2021, until on or about October 26, 2023,
CHAPMAN and others known and unknown to the Grand Jury, in the District of Columbia and
elsewhere, knowingly combined, conspired, and agreed together and with each other to execute
and attempt to execute a scheme and artifice (i) to defraud a financial institution, as defined in 18
U.S.C. § 20; and (ii) to obtain money, funds, credits, assets, securities, and other property owned
by and under the custody and control of, a financial institution as defined in 18 U.S.C. § 20, by
means of false and fraudulent pretenses, representations, and promises, fo wit, by impersonating
U.S. persons, forging check endorsements, and causing U.S. companies to make deposits in the
names of individuals who were falsely associated with the transactions, and thereby causing the
banks to unknowingly process transactions to or for the benefit of foreign individuals and entities,
including North Korea.

28. In furtherance of this Conspiracy and to accomplish its goals, the following overt
acts, in addition to those’ previously alleged, among others, were committed in the District of
Columbia and elsewhere:

Fraud Directed Toward USFI-3

29. On or about November 30, 2021, CHAPMAN messaged with a coconspirator

overseas IT worker using the screenname “Piety,” wherein they discussed a scheme to deposit

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wages into CHAPMAN’s account at USFI-3, an FDIC-insured U.S. financial institution, and
submit false information to the bank related to the same:

CHAPMAN: You are Jerry P[.], correct?

Piety: Yes.

CHAPMAN: What's should I do about your payroll check that came here?
... Where was your check supposed to go?. ..

Piety: was it shipped to your house? .. .

CHAPMAN: Yes. That’s why I have it. Sometimes, if you don't have your
direct deposit paperwork in quickly enough, the very first check won't make
it in to three bank. I'm not sure how to get out to you... .WHERE is your
bank? ... I should be able to write your bank account number on the check
and send it to your bank then it will be deposited.

Piety: ... [USFI-3 Name, Address, Routing, Account Information]

CHAPMAN: Okay. I should be able to deposit your check at any [USFI-3]
then. Awesome!! That issue is solved.

Piety: how do you handle it?
CHAPMAN: I will write ‘ For deposit only to account [number] where the
bank now with your check. Is the account in your name? I need to know.
Piety: hi. No. 1 sec.
CHAPMAN: What name is on the account?? I need to know.
Piety: Anastasiia [D.] it’s owner name...
Fraud Directed Toward USFI-1
30. On or about June 28, 2022, CHAPMAN messaged with a coconspirator overseas
IT worker JJ, wherein they discussed a scheme to deposit checks for overseas IT workers’ wages
into CHAPMAN’s account at USFI-1, an FDIC-insured U.S. financial institution, and submit false

information to the bank related to the same:

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JJ: Is it possible to use your bank account for getting payment from one of
the company? ...

CHAPMAN: I’m working on finding out what kind of bank account I need
to do that without issue though.

JJ: This is anew company so you don’t need to worry about having trouble.
I only need to get payment with your bank account once or twice.
Meanwhile, I will create my own account and change it.

CHAPMAN: And do you know what happeris when my bank account gets
flagged by the federal government for processing to many large payments
and sending them overseas? I get in trouble and go to prison. I have to make
sure I am doing it the right way... .

JJ: I totally understand your concern. Sorry to bother you.
CHAPMAN: It’s okay. I’m waiting on answers form a bank manager to
make sure J can do it without getting in trouble. It will just. take a couple
days to find out.
31. On or about March 17, 2023, CHAPMAN messaged with a coconspirator overseas
IT worker using the. screenname “WebHamster” (“WH”), wherein they discussed a scheme to
deposit checks for overseas IT workers’ wages into CHAPMAN’s account at USFI-1 and submit
false information to the bank related to the same:
WH: They are saying they sent another paper check on 2/3, any paper check
you received? and would you find someone who can help with physical
paper checks, i will pay 30% fee, if needed. the problem is that “Irving B.”
isn’t real person’s name. it would be great if you could spare me just a few
mins to discuss about the paper checks.
CHAPMAN: That’s probably why it didn’t go through my bank as the name
is fake. I could go to prison for fraud for that... . So, Irving is not a real
person at all?

WH: No. any possibility? . ..

CHAPMAN: I am willing to try one more time. But I don’t have another
check. A second one never came here.

WH: I will check with the company, but you could try with the one which
be arrived soon. It will be about 3.8k. and 30% will be paid as fee.

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On or about the following dates, after endorsing the check issued in the name of a

beneficiary other than herself and signing the check for deposit, CHAPMAN deposited the

following payroll checks into her USFI-1 account via the bank’s mobile deposit feature:

Sub- | Date of Date of Pay To
—q_| check | Deposit | U-S: Company Order | Amount |
a. | 9/15/2022 | 9/27/2022 | Company 54 “Lee Y.” $ 3,328.58
b. 9/15/2022 | 9/30/2022 Company 54 “Lee Y.” $ 4,886.26
c. | 9/30/2022 | 10/11/2022 | Company 54 “Lee Y.” $ 4,886.27
d. | 1/27/2023 | 3/6/2023 | Stating Company | Guillermo | § 9,367.34
e. | 2/9/2023 ‘|. 3/24/2023 a Company | «Frank A” | $ 4,175.23
Company 28 -
f. 3/15/2023 | 3/28/2023 Staffing Company | “Irving B.” $ 3,840.17
19
Company 28 -
g. | 3/31/2023 | 4/12/2023 | Staffing Company | “IrvingB.” | $ 3,840.08
19
h. | 4/3/2023 | 4/25/2023 | SHB Company | «toe y» $ 2,179.53
i. | 3/6/2023 _—‘| 5/1/2023 siathng Company | «AsoleleiT” | $ 4,551.65
j. | 4/11/2023 | 5/17/2023 | Company 1 “Daniel B.” | $ 4,379.36
Company 28 /
k. 5/15/2023 | 5/19/2023 Staffing Company | “Irving B.” $ 3,840.17
19
Company 28 /
lL. 4/13/2023 | 6/7/2023 Staffing Company | “Irving B.” $ 3,899.65
19
m. | 2/28/2023 | 6/12/2023 | Company 53 “Matthew R.” | $ 960.44
Company 28 /
n. 5/31/2023 | 6/20/2023 Staffing Company | “Irving B.” $ 3,840.09
19
o. | 6/16/2023 | 7/6/2023 Company 1 ‘| “Daniel B.” | $ 4,713.87
p. | 7/20/2023 | 8/3/2023 — Company | «vfarcusM.” | $ 3,264.00
q. | 6/27/2023 | 8/14/2023 a Company | «rentrell M” | $ - 2,318.19
Total | $ 61,270.88

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Fraud Directed Toward USFI-2

33.

Between on or about October 5, 2023, and on or about October 6, 2023,

CHAPMAN messaged with a coconspirator overseas IT worker using the screenname “Tommy,”

wherein they discussed a scheme to deposit wages into CHAPMAN’s account at USFI-2, an FDIC-

insured U.S. financial institution, and submit false information to the bank related to the same:

34.

CHAPMAN: I haven’t heard a single word from you today. I needed to give
the bank that information today... .

Tommy: Could you please let me know your phone number.
I need to know your phone number at least while bank calls me,

CHAPMAN: 763-[XXX-XXXX].
Tommy: No worries. You only helped your friend Andy... .

CHAPMAN: You have to say that we’ve met in person and worked
together. . . . You ABSOLUTELY have to say we’ve met and worked
together. And I won’t be able to use this account again for your direct
deposit. This bank said it’s against their rules.

On or about October 11, 2023, CHAPMAN continued the conversation with

“Tommy” related to the scheme to deposit wages into CHAPMAN’s account at USFI-2:

CHAPMAN: They can't use the number you gave me because it’s a V[oice]
Olver] IP number. They need a physical regular number that is tied to his
name and comes up WITH his name... .

Tommy: Okay. Let me know your another [sic] [MST-2] address. I will pay.
I have just checked with Andy. ...As you know, Andy has only VOIP phone
right now because he was Chineese [sic] guy. . . .or can you tell me bank
assist's number please? . . .then we will let [Company 56] manager who is
real call bank assist and confirm... .

CHAPMAN: The bank said only Andy, calling from a real number can
confirm that the money was meant to go into my account....

Tommy: then we can prepare one of my US friend. he has real US number

and can pretend to be Andy. I will provide all information about Andy to
him. What do you think?

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Bo:

CHAPMAN: It HAS to be in the name Andy P[.]:...

Tommy: Make sense. You mean the real phone number which I will give
you should be connected name which is Andy P[.]? I think it's
impossible ....

CHAPMAN: Your friend here needs to go get a sim card, saying he’s
buying it for his friend Andy P[.] so it gets put in his name. If the bank asks
about the new number, he can just say he moved recently. Then that sim
card can be put in an extra phone for the phone call/s. I told the bank that J
usually talked to Andy via [Messaging Application-1] because it was easier
as we moved and traveled for work. Alternatively, your friend can get a Lan
line in Andy's name. You guys obviously have a social security number for
him. That would be registered in his name.

Tommy: Ok. Let me try.

On or about October 13, 2023, “Tommy” relayed to CHAPMAN that they had

purchased a phone with a Subscriber Identity Module (“SIM”) card in “Andy’s” name, and that

they were “preparing” a “story.”

36.

Between on or about October 15, 2023, and on or about October 19, 2023,

CHAPMAN continued the conversation with “Tommy” related to the scheme to deposit wages

into CHAPMAN’s account at USFI-2:

Tommy: 385[XXXXXXX]. This is phone number. I will let you know
when he is ready to answer. Let’s confirm again. Andy and you are friends
and have worked some stuffs in person. Andy had some issues about bank
so made a decision to use your bank. Right?

CHAPMAN: Yes. We worked together in person before and became
friends... so I offered to help when he mentioned his bank issue.

Tommy: Okay.

CHAPMAN: I’JI call the bank tomorrow. That department isn’t open this
late. ...

Tommy: Did you call the bank btw?

CHAPMAN: Yes. I’ve called. Have they contacted your friend yet?

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Tommy: Not yet.

CHAPMAN: I’Il call again tomorrow... .

CHAPMAN: I’m losing my account and no longer eligible to have .
accounts at [USFI-2]. There will be a balance owed because I already sent
you money. The ONLY thing that can fix this is Andy P[.] going into a
[USFI-2] location and showing his idea and saying he asked to have his

money deposited into my account... .

Tommy: J will prepare my friends to visit at the [USFI-2] with Andy’s
id....

CHAPMAN: We need someone who looks like Andy.
Tommy: I will let andy [sic] call first and if it didn't go well, will let
company manager call the bank. if it's also not going well, we can choose
the third way.

37. On or about the following dates, Company 50 made direct deposits for wages of

coconspirator overseas remote IT workers into CHAPMAN’s USFI-2 account, which were falsely.

attributed to a U.S. person:

E |_Deposit Date | Tentity Used | ent

a 4/20/2022 ‘Weichong C.” $1,751.60

b 05/19/2022 ‘Weichong C,” $8,662.14

C. 06/02/2022 'Weichong C.” $4,331.12

d. 06/16/2022 ‘“Weichong C.” $4,331.14

e 06/30/2022 ‘Weichong C.” $4,331.12

if 07/14/2022 Weichong C.” $4,331.14 |
Total | $27,738.26

(Conspiracy to Commit Bank Fraud, in violation of Title 18, United States Code, Sections
1344(1) & (2), 1349)

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COUNT FOUR
(Aggravated Identity Theft)

38. The allegations in Paragraphs 1 through 37 of this Indictment are incorporated and
re-alleged by reference herein.

39. Between in or around October 2020, and on or about October 26, 2023,
CHAPMAN and others known and unknown to the Grand Jury, within the District of Columbia
and elsewhere, knowingly transferred, possessed, and used, without lawful authority, a means of
identification of another person during and in relation to a felony violation enumerated in 18 U.S.C.
§ 1028A(c), to wit conspinagy to commit wire fraud and conspiracy to commit bank fraud as set
forth in Counts Two and Three, knowing that the means of identification belonged to another actual
person, including the use of identities defined in [J 23(r), 32-34, 37.

(Aggravated Identity Theft, in violation of Title 18, United States Code, Sections 2, 1028A(a)(1))

COUNT FIVE
(Conspiracy to Commit Identity Fraud)

40. The allegations in Paragraphs | through 37 of this Indictment are incorporated and
re-alleged by reference herein.

Al. Between in or around October 2020, and on or about October 26, 2023,
CHAPMAN and others known and ufBnesm to the Grand Jury, within the District of Columbia
and elsewhere, knowingly combined, conspired, and agreed together and with each other to
transfer, possess, and use, in or affecting interstate or foreign commerce, without lawful authority,
a means of identification of another person, namely, the names, Social Security numbers, and dates
of birth of the stolen or borrowed U.S. person identities, with the intent to commit, and to aid and
abet, in connection with, unlawful activity that constitutes a violation of Federal law and that

constitutes a felony under applicable State and local law, namely, conspiracy to commit wire fraud

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and bank fraud, as described in Counts Two and Three, and as a result of the offense, CHAPMAN
and the conspirators obtained something of value aggregating $1,000 or more during any 1-year
period.

(Conspiracy to Commit Fraud and Related Activity in Connection with Identification
Documents, in violation of Title 18, United States Code, Sections 1028(a)(7), (b)(1)(D), (c)(3)(A),

& (f))

' COUNT SIX
(Conspiracy to Launder of Monetary Instruments)

42. The allegations in Paragraphs 1 through 37 of this Indictment are incorporated and
re-alleged by reference herein.

43, Between in or around October 2020, until on or about October 26, 2023, defendants
CHAPMAN, HAN, XU, and JIN, and others known and unknown to the Grand Jury, within the
District of Columbia and elsewhere, knowingly combined, conspired, and agreed together and with
each other to conduct financial transactions affecting interstate and foreign commerce, fo wit,
transfers from accounts at USFI-1, USFI-2, MST-2, and MST-3, to accounts at MST-2, MST-3,
and MST-1, which involved the proceeds of a specified unlawful activity, that is conspiracy to
commit wire fraud, conspiracy to commit bank fraud, and conspiracy to commit identity fraud, as
described in Counts Two, Three, and Five, knowing that the transaction was designed in whole
and in part to conceal and disguise, the nature, location, source, ownership, and control of the
proceeds of said specified unlawful activity and that while conducting and attempting to conduct
such financial transaction knew that the property involved in the financial transaction represented
the proceeds of some form of unlawful activity.

° Incoming Funds from U.S. Companies Transferred to MST Accounts
44. On or about the following dates, CHAPMAN received payroll wages for

coconspirator overseas IT workers from U.S. companies directly deposited into her USFI-2

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account, and then transferred those funds into XU’s account at MST-3, headquartered in New

York, including as follows:

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Sub; Payroll Deposit | Payroll Deposit paaneiee Transfer
q Date Amount arene Amount
MST-3
a. 4/20/2022. $1,751.60 4/28/2022 $1,750.84
b, 5/19/2022 $8,662.14 5/23/2022 $8,662.14
Cy 6/2/2022 $4,331.12 6/4/2022 $4,331.12
d. 6/16/2022 $4,331.14 6/18/2022 $4,331.14
ey 6/30/2022 $4,331.12 7/5/2022 $4,331.00
|___—if 7/14/2022 $4,331.14 7/15/2022 $4,330.00
Total $23,406.24
45. In addition, coconspirator overseas IT workers from U.S. companies directly

deposited funds into CHAPMAN’s USFI-1 account, and then transferred those funds into HAN’s

account at MST-1, operating in New York.

Sub Payroll Deposit Bee ipanster Transfer
Date eposit Date to ATOWE
| iil = Amount _MST-1
a. 9/15/2022 $3,328.58 9/28/2022 $544.00
b. 9/15/2022 $ 4,886.26 10/3/2022 $4856.26
C. 9/30/2022 $ 4,886.27 | 10/14/2022 $4856.27
Total $10,256.53

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46. Between on or about January 15, 2021, and on or about October 26, 2023,
approximately $990,248.84 was deposited into HAN’s account at MST-1 from various U.S.
companies, including those whose laptops were operated at CHAPMAN’s laptop farm at her
residences, and the money thereafter transferred out to other MST-1 accounts.

e Money Paid by Overseas IT Workers for CHAPMAN’s Services Via MSTs

47. On or about February 28, 2022, CHAPMAN messaged with Zhonghua, wherein he
directed CHAPMAN to send an invoice to him. CHAPMAN did send a “February 2022 Invoice”

which showed fees related to 15 different identities working for 17 different listed U.S. companies.

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Zhonghua then wrote, “and from next month, we will pay the money via [MST-3]. How do you
think about this?” CHAPMAN responded, “That sounds good. The feds here are now tracking
every penny on [MST-2], [MST-4], etc. They aren’t doing that on [MST-3] yet.”

48. On or about the following dates, CHAPMAN charged coconspirator overseas IT
workers for “rent” and other fees for the services that she rendered in operating the laptop farm, to
include logging into the U.S. companies’ laptops, connecting to the U.S. companies’ networks,
connecting the overseas IT workers remotely to the laptops, providing technical support with the

connections, storage of the laptops, and shipping laptops:

Sub-{_ | Approximate Date Amount
a. 11/30/2021 $2,832.00
_b. 12/31/2021 $3,586.00
c, 1/31/2022 $3,601.00
d. 2/28/2022 $4,325.00
e 3/31/2022 $6,556.00
ff. 4/30/2022 $8,179.00
g. 5/31/2022 $11,731.00
h. 6/30/2022 $10,688.00
i. 7/31/2022 $12,464.00
f- 8/31/2022 $9,515.00
k. 9/30/2022 $10,001.00
1. 10/31/2022 $5,170.00
m. 11/30/2022 $9,369.00
n. 12/31/2022 $8,561.00
0. 1/31/2023 $7,453.00
p. 2/28/2023 $8,778.00
q. 3/31/2023 $4,459.00
t. 4/30/2023 $7,920.00
S. 5/31/2023 $4,698.00
t. 6/30/2023 $7,642.50
u. 7/31/2023 $7,847.50
v. 8/31/2023 $2,175.50
W. 9/30/2023 $9,179.50
x. 10/31/2023 $10,119.00
Total $176,850.00

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49, Between in or around March 2021, and in or around March 2023, XU’s MST-2
account sent CHAPMAN’s MST-2 Account A 90 transfers totaling approximately $142,919.00.
Most of the transfers contained notes that referenced “Service Fee,” “Shipment Fee,”
“Development Work,” “Web Design,” “Purchase Computer,” Equipment Purchase,” and “HTML
Design.”

50. Between on or about December 14, 2021, and on or about April 3, 2023, JIN’s MST-
2 account sent CHAPMAN’s MST-2 Account A nine transfers totaling approximately $12,210.00.
Most of the transfers contained notes that referenced “Service Fee” or “Shipment Fee.”

51. Between in or around September 2021, and in or around June 2023, CHAPMAN
transferred $153,857 from her MST-2 Account to her USFI-2 Acom

(Conspiracy to Launder of Monetary Instruments, in violation of Title 18, United States Code,
Sections 1956(a)(1)(B)(i) & (h))

COUNT SEVEN

(Prohibition of Unlicensed Money Transmitting Business)

52. The allegations in Paragraphs | through 51 of this Indictment are incorporated and
re-alleged by reference herein.

53. Between in or around October 2020, until on or about October 26, 2023, within the
District of Columbia and elsewhere, CHAPMAN and others known and unknown to the grand jury
did knowingly conduct, control, manage, supervise, direct and own all and part of an unlicensed
money transmitting business, which affected interstate and foreign commerce, while failing to
comply with the money transmitting business registration requirements under 31 U.S.C. § 5330,
or regulations prescribed under that section, and aided and abetted the same.

(Prohibition of Unlicensed Money Transmitting Business, in violation of Title 18, United States
Code, Sections 1960(a), 2)

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COUNT EIGHT
(Conspiracy to Cause the Unlawful Employment of Aliens)

54. The allegations in Paragraphs | through 51 of this Indictment are incorporated and
re-alleged by reference herein.

55. Between in or around October 2020, until on or about October 26, 2023,
CHAPMAN and other coconspirators known and unknown to the Grand Jury, within the District
of Columbia and elsewhere, knowingly combined, conspired, and agreed together and with each
other to commit a crime against the United States, namely, violations of 8 U.S.C. § 1324a, to wit
the hiring, recruiting, and referring for a fee aliens, that is coconspirator overseas IT workers for
employment in the United States, knowing that said aliens were not authorized for employment in
the United States, with respect to such employment.

(Conspiracy to Cause Unlawful Employment of Aliens, in violation of Title 18, United States
Code, Section 371 and Title 8, United States Code, Section 1324a(a)(1)(A) and 1324a1324A(f)(1))

FORFEITURE ALLEGATION

56. The allegations contained in Counts One through Eight of this Indictment are
hereby realleged and incorporated by reference for the purpose of alleging forfeitures pursuant to
Title 18, United States Code, Section 981(a)(1)(C) and Title 28, United States Code, Section
2461 (c).

57. Pursuant to Title 18, United States Code, Section 981(a)(1)(C) and Title 28, United
States Code, Section 2461(c), upon conviction of violations of Title 18, United States Code,
Sections 1028, 1343, 1344, defendant CHAPMAN shall forfeit to the United States of America
any property, real or personal, which constitutes or is derived from proceeds traceable to said
violation(s). The United States will also seek a forfeiture money judgment for a sum of money

equal to the value of any property, real or personal, which constitutes, or is derived from proceeds

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traceable to this offense. The property to be forfeited includes, but is not limited to, the following:

a. Funds in CHAPMAN’s accounts, as follows:

a Financial Institution Amount Identifier
1 USFI-2 $9,767.08 | Act. No. *6710
2 USFI-1. $2,117.47 | Act. No. *0368 |
b. Wages and monies accrued by overseas IT workers, as follows:
Sub- . Identity
q Seized From Used Identifier Amount
Technical
1 Company 32 “James B.” Consultant - PO- | $6,400.00
0005486
2 Company 50 “WeiChong C.” SSN *8146 $9,007.73
3 Company 29 “Jade H.” SSN *6658 $1,292.12
4 Company 36 “Lee Y.” SSN *2245 $3,553.34
5 Company 10 “Asolelei T.” SSN *8216 $6,889.60 _
6 Staffing Company 11 “Charles C.” SSN *2658 $5,115.38
7 Company 1 “Daniel B.” SSN *9074 $23,569.37
8 Company 10 “Asolelei T.” SSN *8216 $4,904.55
9 Company 46 “Ryan F.” SSN *7992 $5,970.61
10 Company 53 “Matthew R.” SSN *7198 $7,198.52
Membership No.
i MST-1 JIHO HAN *70AA $6,072.47
12 Company 28 “Irving B.” SSN *3338 $2,124.71
13 Company 14 “Cody W.” SSN *2295 $1,825.99
Payroll Company Vo | egeott 1 SSN *5106 $9,473.63
14 Company 48
15 Staffing Company 11 “Charles C.” SSN *2658 $7,235.70 |
16 Staffing Company 23 “Frank A.” SSN *0908 $16,155.15
17 Staffing Company 24 “James B.” SSN *9838 $3,541.20
18 Staffing Company 25 “Dong C.” SSN *3852 $8,907.16
19 Staffing Company 26 “Dong C.” SSN *3852 $6,956.00
c. All fees, payments, and monies derived from services performed on behalf of the
conspiracy.
58. The allegations contained in Counts One through Eight of this Indictment are

hereby realleged and incorporated by reference for the purpose of alleging forfeitures pursuant to

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Title 18, United States Code, Sections 982(a)(1).

59. Pursuant to Title 18, United States Code, Section 982(a)(1), upon conviction of an
offense in violation of Title 18, United States Code, Sections 1956 & 1960, defendants
CHAPMAN, XU, HAN, and JIN shall forfeit to the United States of America any property, real or
personal, involved in such offense, and any property traceable to such property. The United States
will also seek a forfeiture money judgment for a sum of money equal to the value of any property,

real or personal, which constitutes, or is derived from proceeds traceable to this offense. The

property to be forfeited includes, but is not limited to, the following:

a. Funds in CHAPMAN’s accounts, as follows:

a Financial Institution Amount Identifier
1 USFI-2 $9,767.08 | Act. No. *6710
2 USFI-1 $2,117.47 | Act. No. *0368
b. Wages and monies accrued by overseas IT workers, as follows:
Sub- : Identi
q Seized From Use ae Identifier Amount
Technical
1 Company 32 “James B.” Consultant - $6,400.00
PO-0005486
2 Company 50 “WeiChong C.” SSN *8146 $9,007.73
3 Company 29 “Jade H.” SSN *6658 $1,292.12
4 Company 36 “Lee Y.” SSN *2245 $3,553.34
5 Company 10 “Asolelei T.” SSN *8216 $6,889.60
6 Staffing Company I1 “Charles C.” SSN *2658 $5,115.38
7 Company | “Daniel B.” SSN *9074 $23,569.37
8 Company 10 “Asolelei T.” SSN *8216 $4,904.55
9 Company 46 “Ryan F,” SSN *7992 $5,970.61
10 Company 53 “Matthew R.” SSN *7198 $7,198.52
Membershi
11 | MST-1 JIHO HAN No. #7044, | $6:072.47
12 Company 28 “Trving B.” SSN *3338 $2,124.71
13 Company 14 “Cody W.” SSN *2295 $1,825.99
14 __ | Payroll Company 1/ “Scott L.” SSN *5106 | $9,473.63
Company 48

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15 Staffing Company 11 “Charles C.” SSN *2658 $7,235.70 _
16 Staffing Company 23 “Frank A.” SSN *0908 $16,155.15
17 Staffing Company 24 “James B.” SSN *9838 $3,541.20
18 Staffing Company 25 “Dong C.” SSN *3852 ‘$8,907.16
19 Staffing Company 26 | “Dong C.” SSN *3852 $6,956.00 |

c. All fees, payments, and monies involved in services performed on behalf of the

conspiracy.
60. If any of the property described above, as a result of any act or omission of a
defendant:

a. cannot be located upon the exercise of due diligence;

b. has been transferred or sold to, or deposited with, a third party;

c. has been placed beyond the jurisdiction of the court;

d. has been substantially diminished in value; or

e. has been commingled with other property which cannot be divided without

difficulty,

the United States of America shall be entitled to forfeiture of substitute property pursuant to Title

21, United States Code, Section 853(p), as incorporated by Title 18, United States Code, Section

982(b)(1) and Title 28, United States Code, Section 2461(c).

Wattle Uf Love. LS

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Attorney of the United’States in
and for the District of Columbia

A TRUE BILL

FOREPERSON

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